                           UNITED STATES DISTRICT COURT
                              DISTRICT OF COLORADO


Case No.:

RHONDA NESBITT, individually, and on behalf of all others similarly situated,

              Plaintiff,

v.

FCNH, INC., VIRGINIA MASSAGE THERAPY, INC., MID-ATLANTIC MASSAGE
THERAPY, INC., STEINER EDUCATION GROUP, INC., STEINER LEISURE LTD.,
SEG CORT LLC, doing business as the “Steiner Education Group,”

              Defendants.



                COLLECTIVE AND CLASS ACTION COMPLAINT



       PLAINTIFF, individually, and on behalf of all others similarly situated, by counsel

of record set out below, hereby alleges the following by way of her complaint against the

above-named Defendants:

                              JURISDICTION AND VENUE

1.            This Court has jurisdiction over the claims alleged herein because Plaintiff

seeks relief pursuant to the Fair Labor Standards Act (“FLSA”) for the Defendants’ failure

to pay minimum wages and/or overtime wages as required by 29 U.S.C. § 201-218 et. seq.

The employment relationship alleged to exist between the parties is subject to the FLSA

because the Defendants are properly deemed “employers” within the meaning of the FLSA

as they have in excess of $500,000 in yearly revenue and the employment alleged involved


                                               1
the use or handling of goods that have moved or were moving in interstate commerce, as

those terms are defined in the FLSA.

2.             This Court also has jurisdiction over claims alleged herein for relief in the

nature of a Declaratory Judgment pursuant to Fed. R. Civ. P. 57 and 28 U.S.C. §§ 2201 and

2202, because the Plaintiff seeks a determination her rights to proceed against the

Defendants on her legal and equitable claims within this court, challenging the

enforceability of the below referenced Arbitration Agreement.

3.             The Court has supplemental and original jurisdiction over the State Law

claims alleged herein pursuant to 28 U.S.C. § 1367(a) and the Class Action Fairness Act of

2005, 28 USCS § 1332 (“CAFA”). Supplemental jurisdiction is properly exercised over

such state law claims which present many overlapping and identical issues of law and fact

as the FLSA claims. CAFA jurisdiction is properly exercised over such state law claims as

the value of those claims are believed to exceed $5,000,000 on behalf of the alleged class

and the citizenship of the parties meets the diversity requirements of CAFA and the other

conditions for this Court to assert jurisdiction under CAFA over such claims are present.

4.             Venue is properly placed in this Court as the uncompensated labor was

performed by Plaintiff Rhonda Nesbitt and the represented parties for the Defendants, and

that is at issue in this case was performed within the State of Colorado and this district and

Defendants do conduct and have conducted business within this judicial district.

                                          PARTIES

5.             Plaintiff, Rhonda Nesbitt (the “Named Plaintiff” or “Plaintiff”), resides in

the City and County of Denver, Colorado, within the judicial district of this Court.




                                                 2
6.             Plaintiff enrolled in and attended the educational services business programs

run by the Defendants herein during the last three (3) year period of time prior to the filing

of this Complaint.

7.             Defendant FCNH, INC. is a corporation formed and existing pursuant to the

laws of the State of Florida.

8.             Defendant VIRGINIA MASSAGE THERAPY, INC., is a corporation

formed and existing pursuant to the laws of the State of Virginia.

9.             Defendant MID-ATLANTIC MASSAGE THERAPY, INC., is a

corporation formed and existing pursuant to the laws of the State of Maryland.

10.            Defendant STEINER EDUCATION GROUP, INC., is a corporation formed

and existing pursuant to the laws of the State of Florida.

11.            Defendant STEINER LEISURE LTD., is a Bahamas international business

company with its principle place of business in the United States, being in the State of

Florida.

12.            Defendant SEG CORT LLC, is a limited liability corporation formed and

existing pursuant to the laws of the State of Florida.

13.            All of the Defendants are involved in the management or operation, or have

an ownership interest either directly or through intermediaries or subsidiaries that they own

and control, in some or all of the locations that conduct commercial operations and

business as part of the Steiner Education Group.

14.            Defendants, or some of them, are registered to do business in the United

States, and/or do business under the names Arizona School of Massage Therapy, Steiner

Institute of Esthetics, Cortiva Institute, Denver School of Massage Therapy, Connecticut


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Center for Massage Therapy, Florida College of Natural Health, Baltimore School of

Massage, Nevada School of Massage Therapy, Texas Center for Massage Therapy, Utah

College of Massage Therapy, Virginia School of Massage, Defendants publicly identifying

all of those business operations as being part of what they term the “Steiner Education

Group” as depicted on the website run by the Defendants, www.steinered.com. The term

“SEG” as used hereafter refers to all of the Defendants and their foregoing operations as

the “Steiner Education Group.”

15.            SEG conducts the activities alleged herein and that give rise the claims

made in this complaint at or about 31 campuses which also offer educational programs in

massage therapy and/or esthetics in the states of Arizona, Colorado, Connecticut, Florida,

Maryland, Massachusetts, Illinois, Nevada, New Jersey, Pennsylvania, Texas, Utah,

Virginia, and Washington.


              CLASS ACTION AND REPRESENTATIVE ALLEGATIONS

16.            The named Plaintiff brings this action on her own behalf, and on behalf of

the collective group or class (hereinafter “class”) of all persons similarly situated and on

behalf of the general public.

17.            The class consists of all persons who were, as alleged herein, wholly

uncompensated employees of the Defendants in their profit-making personal services

businesses under the FLSA, such class claims being brought pursuant to 29 U.S.C. § 216(b)

which authorizes lawsuits on behalf of others similarly situated, such lawsuits often

referred to as “collective” and not “class” actions, in they differ from traditional class

actions. Some or all of such persons who are alleged to be similarly situated and members

of the FLSA class are also entitled to relief under the laws of the States of Arizona,
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Colorado, Connecticut, Florida, Maryland, Massachusetts, Illinois, Nevada, New Jersey,

Pennsylvania, Utah, and Washington (the “state claims”), as alleged herein. It is asserted

that the state claims are properly subject to class action treatment under FRCP Rule 23 for

the reasons alleged herein.

18.            The class claims asserted in paragraph 17 encompass under the FLSA the

time period from three years prior to the commencement of this action through the date of

any judgment, such claims encompassing for state law purposes the statute of limitations

applicable to each state’s law as determined by the date of the commencement of this

action through date of any judgment.

19.            The class of persons identified in paragraph 17 is in excess of 1,000 and is

so numerous that the joinder of each member of the class is impracticable.

20.            There is a well-defined community of interest in the questions of law and

fact affecting the class the named Plaintiff proposes to represent. The class members’

claims against Defendants involve questions of common or general interest, in that their

claims are based on Defendants’ failure to pay any wages whatsoever to such persons

despite the FLSA’s requirement, as alleged herein, that such persons be paid at least the

minimum hourly wage provided for in 29 U.S.C. § 206, such conduct also violating the

legal obligations imposed upon the Defendants under the various state laws alleged herein.

These questions are such that proof of a state of facts common to the members of the class

will entitle each member of the class to the relief requested in this Complaint.

21.            The named Plaintiff will fairly and adequately represent the interests of the

class, because the named Plaintiff is a member of the class and the claims of the named

Plaintiff are typical of the claims of those in the class. The named Plaintiff has retained


                                                 5
experienced counsel competent to represent the class, the adjudication of the putative

FRCP Rule 23 class claims on a class action basis is superior to other means of

adjudication of such claims and/or is desirable based upon the common actions of the

Defendants towards the class and/or the risk of inconsistent adjudications and uncertainty

regarding the proper standard of conduct by the Defendants if such claims were subject to

multiple individual litigations and/or the other criteria of FRCP Rule 23 are met warranting

the class action certification of such claims.

                RELEVANT FACTS OF THE DEFENDANTS’ BUSINESS
                 OPERATIONS AND THE PARTIES’ RELATIONSHIP

22.             The Defendants are for-profit businesses, meaning they are not registered

with, or recognized by, any State or the United States as non-profit or charitable

enterprises.

23.             The Defendants are for-profit businesses, meaning they are required by law

to file tax information reports or tax returns with the United States Internal Revenue

Service and on none of those filings is it indicated that they are a charity or non-profit

business within the meaning of the statutes and regulations that govern their obligation to

file those reports or returns.

24.             SEG’s for-profit business activities at its campuses in the United States

include providing educational services (the “educational services business”) to paying

students in fields of massage therapy and esthetics, which includes training students to

practice, as regulated by various state laws, the trades of massage therapy and esthetics or

skin care.

25.             SEG’s for-profit business activities at its campuses in the United States also

includes the providing of personal services, for a fee, to members of the public (the
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“personal services business”) who in exchange for paying such a fee receive massage

therapy and/or esthetics services.

26.            SEG’s for-profit personal services business activities at its campuses in the

United States are designed to generate a profit for Defendants and does generate a profit for

the Defendants and the revenue Defendants receive from the fees SEG charges to the

public for the personal services provided by such business exceed the value of the

materials, if any, that such members of the public consume during the receipt of such

services.

27.            Defendants utilize the labor of the class members, who have also purchased

the educational services provided by SEG in its educational services business, in SEG’s

personal services business.

28.            The class members are paid no compensation by the Defendants for the

labor they provide in SEG’s personal services business, meaning they receive no payments

in United States currency or in instruments that are convertible as a matter of law into such

currency in exchange for furnishing such labor.

29.            The labor provided by the class members in SEG’s personal services

business was and is essential to that business, in that the labor needed to provide the

personal services to the members of the public, for which such members of the public paid

a fee to SEG, was furnished exclusively or predominately by the class members.

30.            Without the labor provided by the class members, SEG’s personal services

business would either cease to operate or would have to secure labor from other persons

who would have to be compensated at a minimum hourly wage as required by the FLSA

and such state laws.


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31.            SEG actively promotes and advertises its personal services business to the

public on its website and through other means and induces the purchase of those services

by offering them to members of the public at a cost lower than the cost typically charged by

other business that provide such services and do not utilize uncompensated labor to provide

such services. SEG’s website promotes the same by providing a “Public Clinic” link for

each of its campuses and programs. That website makes the following statement(s):

       Looking for a massage or skin care treatment at an affordable price? Look no
       further than the 32 (sic) campuses of the Steiner Education Group.
       Major spas from all across the country come to our schools every year to recruit our
       students before they even graduate, because they know that our schools produce the
       high-quality massage therapists and estheticians they need to keep their high-end
       clientele coming back again and again.

       You can experience that quality at an unbelievably low price by visiting one of our
       public clinics. SEG students perform more than 200,000 massage and skin care
       treatments per year at these clinics.

Such website link allows members of the public to receive further information about the

personal services being offered by SEG using the labor of the class members. Certain

pages of such website also include the following statement:

       Relax and enjoy the healing properties of massage therapy at one of our weekend
       massage clinics for only $25. That’s right – get a 50-minute, full-body massage
       for only $25!

32.            SEG’s for-profit personal services business at its campuses in the United

States compete with other profit making businesses that provide the same personal services

that it provides to the members of the public, in that members of the public have available

to them other providers of such personal services besides SEG who, for a fee, will provide

such personal services.

33.            SEG is able to advantageously compete with other profit making businesses

that provide the same personal services that it provides to the members of the public by
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charging members of the public lower fees for such services than those charged by its

competitors.

34.             SEG’s ability to provide the same personal services to members of the

public as are provided by its competitors, and earn a profit by doing so despite charging

less for those services than its competitors, is either substantially or entirely the result of

SEG enjoying lower operating costs in its personal services business because it provides

such services to the public using the class members’ unpaid labor while its competitors

must pay at least the minimum hourly wage required by the FLSA or state law to their

employees who provide the same labor and services to the public.

35.             Defendants could have the class members provide personal services to the

public without charge. Defendants could have levied only for a charge equivalent to the

actual cost, if any, of the materials consumed in providing such personal services to

members of the general public.

36.             Defendants, however, do not take the actions set out in paragraph 35.

Rather, the Defendants have made a conscious decision not to have the class members

provide personal services to the public without charge, or only for a charge equivalent to

the actual cost, if any, of the materials consumed in providing such personal services.

37.             The Defendants have made a conscious decision not to have the class

members provide personal services to the public without charge, or only for a charge

equivalent to the actual cost, if any, of the materials consumed in providing such personal

services, and have made that decision so SEG can operate a profit making personal services

business that competes with other enterprises that also provide such personal services and

are not in the educational services business.


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38.             While the class members’ labor in SEG’s personal services business

benefits them in securing experience providing such personal services and in achieving

their ultimate goal of being licensed to practice their desired occupation, Defendants’

decision to operate SEG’s personal services business as a profit making venture is

irrelevant to the class members’ education and occupational goals. This is because the

class members would enjoy the exact same benefit if SEG did not charge members of the

public any fee for such personal services, or if it only charged a fee sufficient to cover the

actual cost of the materials, if any, consumed by such members of the public while

receiving such personal services.

39.            The Defendants’ educational services business neither requires nor benefits

from the Defendants’ decision to charge members of the public for providing personal

services and to carry on a profit making personal services business utilizing the unpaid

labor of the class members.

40.            The Defendants’ carrying on of a for profit personal services business,

utilizing the unpaid labor of the class members, has the effect of depressing wages and

employment opportunities generally among workers who would otherwise provide those

personal services. That depression of wages and employment opportunities arises because

Defendants are paying nothing whatsoever for the class members’ labor used to provide

such services, which in turn results in Defendants being able to conduct a profit making

personal services business that charges members of the public less than its competitors

must charge, such competitors paying at least the minimum hourly wage required by the

FLSA and applicable state law to their employees.

41.            Such ability of the Defendants to secure labor for their profit making


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personal services business, without paying at least the minimum hourly wage required by

the FLSA and applicable state law for that labor, results in other businesses which provide

the same personal services and that do pay such minimum hourly wages being influenced

not to increase the wages of their workers above that minimum hourly amount or hire more

workers to provide such services. Such other businesses are influenced not to do those

things as a direct and proximate result of SEG’s utilization of the class members’ unpaid

labor and SEG’s ability, as a result of such utilization, to sell such personal services to the

public for an amount less than such other businesses could charge and still make a profit.

42.            The amount of hours of unpaid labor that the class members performed in

SEG’s personal services business is known to the Defendants who kept detailed

contemporaneous records of those hours of work and in respect to each of the named

Plaintiff such hours of work were at or in excess of 85 hours per student.

                  HOW THE RELEVANT FACTS ESTABLISH AN
                EMPLOYMENT RELATIONSHIP FOR THE PURPOSES
                       OF THE FLSA AND STATE LAW

43.            The relationship between Defendants and the putative class members, in

respect to the labor provided by the putative class members in SEG’s personal services

business, is one of employer and employee for the purposes of the FLSA and state law.

That employment relationship exists for the following reasons:

       (a)      The class members provided labor in SEG’s personal services business that
was immediately advantageous to Defendants and the profitability of such business was
substantially or wholly dependent upon such labor;

        (b)    The class members, while receiving a benefit from their labor in SEG’s
personal services business in the form of experience that assisted them in achieving their
occupational goals, were simultaneously conferring a valuable economic benefit upon the
Defendants, which were charging the public for the services of the class members and
profiting from such charges;


                                                 11
       (c)     The class members’ labor in SEG’s personal services business displaced or
made unnecessary the employment of the persons SEG would have otherwise had to
employ, and pay wages to, for the performance of the labor that the class members
furnished and from which the Defendants profited;

        (d)    Certain of the class members’ labor did not and could not confer any
educational or occupational benefit whatsoever upon such class members, in that the class
members, or some of them, were required by Defendants to spend time not actually
performing personal services on customers but performing manual labor or administrative
functions including, but not limited to, janitorial, clerical or logistical functions, that were
essential and necessary for the conducting of SEG’s personal services business but which
had no educational purpose or benefit to the class members and for which time
expenditures Defendants failed and refused to pay the class members any wages
whatsoever; and

        (e)     For the reasons stated in paragraph 38, as SEG’s utilization of the unpaid
labor of the class members in a commercial, for-profit, personal services business depresses
the wages of employees in that industry and lessens the employment opportunities in that
industry.

        (f)     Neither educational instruction nor direct supervision was provided by
Defendants to the class members while they were performing the labor and services for the
public in the clinic setting.

                       HOW THE RELEVANT FACTS RENDER
                   STEINER LEISURE LTD LEGALLY RESPONSIBLE
                           FOR THE PLAINTIFF’ CLAIMS

44.            Defendant Steiner Leisure Ltd. (“Steiner”) by virtue of its ownership and/or

control of SEG, was empowered to make, and did make, the decisions to have SEG

institute and/or continue the Defendants’ practices that are alleged to have created an

employer and employee relationship between SEG and the Plaintiff and the class members

for the purposes of the FLSA and the state laws that are alleged in this complaint, such

actions by Steiner also causing the violations of the FLSA and state law alleged in this

complaint.

45.            Steiner, by virtue of its ownership and/or control of SEG, could have, but

did not, make the decision to have SEG, discontinue the Defendants’ practices that are


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alleged to have created an employer and employee relationship between SEG and the

Plaintiff and the class members for the purposes of the FLSA and the state minimum wage

laws that are alleged in this complaint, such actions by Steiner also causing the violations

of the FLSA and state law alleged in this complaint.

46.            Steiner, despite having the power to do so, did not direct SEG to discontinue

the practices that are alleged to have created an employer and employee relationship

between SEG and the Plaintiff and the class members for the purposes of the FLSA and the

state minimum wage laws that are alleged in this complaint, such actions by Steiner also

causing the violations of the FLSA and state law alleged in this complaint. Steiner failed to

take such action because doing so would have diminished the profits of SEG and such

diminishment of profits would have in turn diminished the financial returns enjoyed by

Steiner from its ownership of SEG.

47.            Steiner was the chief, final, and active decision maker for SEG, meaning it

made the decisions on how SEG would operate. As part of that decision making process, it

decided that SEG would engage in the profit making personal services business alleged in

this complaint and that such personal services business would use the uncompensated labor

of persons who purchased educational services from SEG.

48.            Steiner, since the founding of SEG, has made a conscious decision to

continue to operate SEG’s profit making personal services business using the

uncompensated labor of persons who purchased educational services from SEG.

49.            Steiner, prior to the occurrence of the events giving rise to the claims of the

Plaintiff and the class members that are alleged in this complaint, made no attempt to

ascertain whether SEG’s use in its personal services business of the unpaid labor of the


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class members was in compliance with the FLSA or the state minimum wage laws in the

states where SEG operated.

50.            Steiner, prior to the occurrence of the injuries sustained by the Plaintiff and

the class members, was made aware that the use of unpaid student labor by a private for

profit school in a profit making personal services business might violate the FLSA.

Steiner, despite that knowledge, made no attempt to change SEG’s practice of using

uncompensated student labor in a profit making personal services business.

51.            Steiner, prior to the occurrence of the injuries sustained by the Plaintiff and

the class members that are alleged in this complaint, was made aware that the use of unpaid

student labor by a private for profit school in a profit making personal services business

either did violate the FLSA or had been found by at least one court to violate the FLSA.

Steiner, despite that knowledge, made no attempt to change SEG’s practice of using the

uncompensated labor of purchasers of its educational services in a profit making personal

services business.

52.            In light of the foregoing set of facts, Steiner is properly deemed an

“employer” of the Plaintiff and the class members within the meaning of the FLSA and the

state minimum wage laws alleged in that Steiner was acting as a decision making “agent of

an employer” and was in complete control of SEG and the beneficial owner of SEG, with

the power to implement, continue and/or terminate the illegal policies and practices that are

alleged to have violated the FLSA and the state laws that are alleged in this complaint.

Steiner not only was vested with such powers, but also knowingly exercised such powers to

continue the violations of the FLSA and the state laws that are alleged in this complaint

and/or they acquiesced to the continuation of such violations despite having the power and


                                                14
duty to prevent and stop the same. In addition, because those intentional acts by Steiner

that violated such statutes were also criminal acts, Steiner cannot escape civil liability for

such actions by using the other Defendants to commit such acts.

                           FIRST CLAIM FOR RELIEF UNDER
                          THE FAIR LABOR STANDARDS ACT

53.            Plaintiff hereby incorporates each and every allegation contained in this

Complaint above and realleges said allegations as though fully set forth herein.

54.            Pursuant to the applicable provisions of the FLSA, 29 U.S.C. § 206 and §

207, the named Plaintiff and those similarly situated were entitled to at least the minimum

hourly wage, which is currently $7.25 an hour, for each hour that they labored in

Defendants’ personal services business and in the event they worked more than 40 hours a

week an overtime hourly wage of time and one-half such minimum hourly wage for all

hours worked in excess of 40 hours per week.

55.            The named Plaintiff and those similarly situated were paid no monetary

compensation whatsoever by the Defendants for performing labor for the Defendants as

employees in the Defendants’ personal services business, such failure to pay the Plaintiff

and the class members any compensation whatsoever violating the minimum hourly wage

requirements of 29 U.S.C. § 206 and, in the event any of the class members or Plaintiff

ever worked in excess of 40 hours in a week, the overtime pay requirements of 29 U.S.C. §

207.

56.            Defendants aforesaid violations of the FLSA were willful in that Defendants

were aware they were running a for profit personal services business and were treating the

class members like employees and Defendants also were aware that employees of profit

making personal services businesses are covered by the minimum hourly wage

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requirements of the FLSA.

57.             The named Plaintiff on behalf of themselves and all other similarly situated

persons who consent in writing to join this action, it also being proposed that all such

persons be notified of this action through the dispatch of a written notice to the last known

names and addresses of such persons that are set forth in the Defendants’ records or that

can otherwise be ascertained, seek, on this First Claim for Relief, a judgment for unpaid

minimum wages and overtime wages and additional liquidated damages of 100% of any

such unpaid wages, such sums to be determined based upon an accounting of the hours

worked by the named Plaintiff and any such other persons who consent to join this action,

and the Plaintiff also seek an award of attorney’s fees, interest and costs as provided for by

the FLSA.

SECOND CLAIM FOR RELIEF FOR DECLARATORY JUDGMENT INVALIDATING
 CERTAIN TERMS UNDER THE ARBITRATION AGREEMENT PLAINTIFF WERE
            REQUIRED TO ENTER INTO WITH DEFENDANTS

58.             Plaintiff hereby incorporates each and every allegation contained in this

Complaint above and realleges said allegations as though fully set forth herein.

59.             Prior to admitting Plaintiff into their educational services business

programs, Defendants required Plaintiff to enter into an Arbitration Agreement provision as

part of an Enrollment Agreement, which Arbitration Agreement is attached hereto as

Exhibit 1, and incorporated into this Complaint by this reference.

60.             Under the terms of that Arbitration Agreement Defendants required Plaintiff

to agree, inter alia, to the following:

       a. Any dispute or claim between the Plaintiff and the Defendant(s) would be
resolved through arbitration in accord with the Commercial Rules of the American
Arbitration Association applying federal law;


                                                 16
       b. No claims of more than one Plaintiff would be arbitrated or litigated jointly or
consolidated with any other Plaintiff’s claims;

       c. Each Plaintiff would bear the expense of its own counsel, experts, witnesses, and
preparation and presentation of proofs;

61.               The above referenced provisions of the Arbitration Agreement violate the

National Labor Relations Act (“NLRA” or the “Act”), 29 U.S.C. §§ 159, et seq., and

specifically, §§ 7 and 8 of the Act by violating the rights of Plaintiff who were performing

labor as the employees of the Defendants, all as described herein, to engage in concerted

activities for mutual aid or protection in the nature of bringing a lawsuit in federal court in

a collective and/or class action to make wage and hour-related claims under the FLSA and

applicable state laws for payment of minimum wage and/or overtime for their labor

provided.

62.               The above referenced provisions of the Defendants’ Arbitration Agreement

also violate §§ 7 and 8 of the Act by requiring Plaintiff to pay the added expenses for the

services of an arbitrator and the added expenses associated with mandatory use of the

American Arbitration Associations (“AAA”) Commercial Rules, when the controversy

includes only claims by the Plaintiff as employees laboring for the Defendants, which

expenses the Plaintiff cannot afford to pay.

63.               The above referenced provisions of the Defendants’ Arbitration Agreement

are unenforceable because they contain fee and cost sharing obligations that place an

impermissible burden on the Plaintiff to bear excessive financial expenses to vindicate her

rights, which burdens the Plaintiff would not bear in such an action prosecuted within the

federal courts.




                                                 17
   THIRD CLAIM FOR RELIEF UNDER STATE LAWS REQUIRING A MINIMUM
   HOURLY WAGE AND UNDER CERTAIN CIRCUMSTANCES AN OVERTIME
                              WAGE

64.            Plaintiff hereby incorporate each and every allegation contained in this

Complaint above and reallege said allegations as though fully set forth herein.

65.            The conduct alleged by the Defendants also constituted a violation of the

laws of the states of Arizona, Colorado, Connecticut, Florida, Maryland, Massachusetts,

Illinois, Nevada, New Jersey, Pennsylvania, and Washington that require the payment of

minimum hourly wages and in some instances overtime wages of one and one-half times

the minimum hourly wage, and that authorize civil suits to collect the same including, but

not necessarily limited to, the following:

       (a)    Arizona Statutes, §§ 23-363, 23-364 (Requiring payment of minimum
hourly wages and providing for enforcement of that right through civil action);

       (b)     Colorado Statutes Title 8, Article 6, and the Minimum Wage Order(s) issued
thereunder, and Section 15 of Article XVIII of Colorado’s Constitution providing for the
payment of minimum wages;

       (c)    Conn. Gen Stat. § 31-58 (setting forth minimum hourly wage rate); § 31-76c
(imposing overtime wage rate requirement); § 31-68 (authorizing civil lawsuits by
employees to collect minimum and overtime wages);

      (d)  Florida Constitution Article X, Section 24, providing for the payment of
minimum wages;

        (e)      Illinois Compiled Statutes, 820 ILCS 105/1, et seq., (from Ch. 48, par.1001,
et seq.) establishing a minimum wage and authorizing rates pursuant to Public Act 94-1072
and collection thereof pursuant to the Illinois Wage Payment and Collection Act, 820 ILCS
115/15 et seq.

       (e)     Maryland Labor and Employment Code § 3-413;

       (f)     Massachusetts Statutes Chapter 151, § 1 (setting forth minimum hourly
wage) §§ 1A and 1B; (requiring overtime wages and authorizing civil actions to collect the
same); § 20 (authorizing civil actions to enforce minimum hourly wage claims);



                                                18
        (g)     Nevada Constitution Article 15, Section 16 and N.R.S. § 608.250 (granting
right to a minimum wage and authorizing civil actions to enforce that right); 608.018
(granting right to overtime wages);

       (h)     New Jersey Statutes Section 34:11-56a4;

       (i)     Pennsylvania Statutes, Title 43, Chapter 8, Section
               333.104;

      (j)   Washington State Minimum Wage Act, Title 49, Chapter 49.46 of
Washington Code, relevant provisions;

66.            Defendants’ alleged conduct has deprived all of the class members who

worked for the Defendants in the states of Arizona, Colorado, Connecticut, Florida,

Maryland, Massachusetts, Illinois, Nevada, New Jersey, Pennsylvania, and Washington of

the minimum wages and in some instances overtime wages owed to such class members

pursuant to such states’ laws.

67.             The named Plaintiff, on behalf of herself and the Plaintiff class, seek a

judgment for all minimum wages, overtime wages, and liquidated damages and all other

damages and monetary relief authorized by the state laws of Arizona, Colorado,

Connecticut, Florida, Maryland, Massachusetts, Illinois, Nevada, New Jersey,

Pennsylvania, and Washington for violations of such states’ minimum wage or overtime

wage payment requirements.

68.             The named Plaintiff, on behalf of herself and the Plaintiff class, also seek

declaratory and equitable relief in the form of a declaration on the illegality of Defendants’

practices and in the form of a suitable injunction restraining Defendants from continuing to

violate the minimum wage and overtime wage payment requirements of the states of

Arizona, Colorado, Connecticut, Florida, Maryland, Massachusetts, Illinois, Nevada, New

Jersey, Pennsylvania, and Washington.


                                                19
                       FOURTH CLAIM FOR RELIEF UNDER
                   STATE STATUTES REQUIRING THE PAYMENT
                        OF EARNED AND UNPAID WAGES

69.             Plaintiff hereby incorporates each and every allegation contained in this

Complaint above and realleges said allegations as though fully set forth herein.

70.             The conduct of the Defendants, in failing to pay the minimum hourly wages

required by the FLSA and in certain circumstances the law of the state where class

members were working, has also violated the requirements of certain state statutes that

expressly require the payment of full and properly earned wages to employees, including,

but not necessarily limited to, the following:

        (a)    Arizona Revised Statutes, §§ 23-351, 23-355, 23-353 (Requiring semi-
monthly payment of wages, payment of wages to terminated employees, providing for
statutory claim to recover triple the amount of any unpaid wages);

        (b)    Colorado Statutes Title 8, Article 4, Sections 103 and 110 (Setting forth
frequency of required payment of wages and authorizing civil actions to remedy
violations);

        (c)    Conn. Gen Stat. § 31-72 and the provisions of 31-71 including but not
limited to 31-71b and 31-71c (providing for payment of wages weekly or upon termination
and authorizing civil action to collect all unpaid wages with double damages and attorneys
fees to be awarded);

       (d)     Illinois Statutes Chapter 820, Section 115/11 et seq.;

       (e)     Maryland Labor and Employment code § 3-507 and 3-502.

         (f) Massachusetts Statutes Chapter 149, § 148 (requiring regular payment of all
earned wages) § 150 (specifying civil action authorized for violations of § 148 and award
of triple damages);

       (g)     Nevada Revised Statutes § 608.016 (requiring payment of wages for all time
worked including during trial or break in periods); § 608.060 (requiring semi-monthly
payment of wages); § 608.030, 608.020 (specifying immediate payment or payment within
3 days of all wages earned and unpaid by discharged or resigning employee);


                                                 20
       (h)      New Jersey Statutes §34:11-4.2 and § 34:11-4.7;

       (i) Pennsylvania’s Wage Payment and Collection Law, Title 43, Chapter 8, Section
43 of Pennsylvania Statutes, including 43 P.S. § 260.9a and its other applicable provisions;

       (j)     Utah Code, Title 34, Chapter 28, relevant provisions including §§ 34-28-3,
34-28-5 (requiring payment of wages at least on a semimonthly basis and upon
termination);

       (k)      Washington Code, Title 49, Chapter 49.48, relevant provisions.

71.             Defendants’ alleged conduct has deprived all of the class members who

worked for the Defendants in the states of Arizona, Colorado, Connecticut, Florida,

Maryland, Massachusetts, Illinois, Nevada, New Jersey, Pennsylvania, Utah and

Washington of the wages Defendants were legally required to pay them pursuant to such

states’ laws.

72.             The named Plaintiff, on behalf of herself and the Plaintiff class, seeks a

judgment for all wages and liquidated damages and all other damages and monetary relief

authorized by the state laws of Arizona, Colorado, Connecticut, Florida, Maryland,

Massachusetts, Illinois, Nevada, New Jersey, Pennsylvania, Utah and Washington as a

result of Defendants’ failure to pay the named Plaintiff and class members the wages

defendant was legally required to pay them pursuant to such states’ laws.

73.             The named Plaintiff, on behalf of herself and the Plaintiff class, also seeks

equitable relief, in the form of declaratory relief and a suitable injunction restraining

Defendants from continuing to fail to pay the wages of the class members, as required by

the laws of Arizona, Colorado, Connecticut, Florida, Maryland, Massachusetts, Illinois,

Nevada, New Jersey, Pennsylvania, Utah and Washington.


                         FIFTH CLAIM FOR RELIEF UNDER
                     STATE STATUTES IMPOSING PENALTIES OR

                                                 21
                   CONTINUING WAGE PAYMENT OBLIGATIONS

74.            Plaintiff hereby incorporates each and every allegation contained in this

Complaint above and realleges said allegations as though fully set forth herein.

75.            The conduct of the Defendants, in failing to pay the wages of the Plaintiff

and the class members as required by the laws of the states where certain class members

were working, has also made the Defendants become liable to such class members for the

payment of additional penalties provided for by statute and/or continuing wages to such

persons including, but not necessarily limited to, the following:

       (a)    Arizona Revised Statutes, § 23-355 (providing for triple damages on unpaid
wage claims);

       (b)     Colorado Statutes Title 8, Article 4, Section 109;

        (c)    Conn. Gen Stat. § 31-72 and the provisions of 31-71 including but not
limited to 31-71b and 31-71c (providing for payment of wages weekly or upon termination
and authorizing civil action to collect all unpaid wages with double damages and attorneys
fees to be awarded);

       (d)     Illinois Statutes Chapter 820, Sections 120/12(a) and 115/14(a) et seq.;

       (e)     Maryland Labor and Employment code § 3-507.1(b);

         (f)   Massachusetts Statutes Chapter 149, § 148 (requiring regular payment of all
earned wages) § 150 (specifying civil action authorized for violations of § 148 and award
of triple damages);

        (g)    Nevada Revised Statutes § 608.040 (granting 30 days continuing wages to
employee not paid their earned wages within the time limit provided by statute upon
conclusion of their employment); Nevada Constitution Article 15, Section 16 (granting
right to a minimum wage and all other relief available at law);

       (h)     Pennsylvania’s Wage Payment and Collection Law, Title 43, Chapter 8,
Section 43 of Pennsylvania Statutes, including 43 P.S. § 260.10 and its other applicable
provisions;

       (i)    Washington Code, Title 49, Chapter 49.52, relevant provisions including
Sec. 49.52.050 and 49.52.070;


                                                22
76.             Defendants’ alleged conduct, in failing to pay the class members who

worked for the Defendants in the states of Arizona, Colorado, Connecticut, Florida,

Maryland, Massachusetts, Illinois, Nevada, Pennsylvania and Washington the wages

Defendants were legally required to pay them either under the laws of such states or the

FLSA has given rise to a claim for monetary damages, in an amount in addition to such

unpaid wages, pursuant to such states’ laws.

77.             The named Plaintiff, on behalf of herself and the Plaintiff class, seeks a

judgment for all damages and monetary relief authorized by the state laws of Arizona,

Colorado, Connecticut, Florida, Maryland, Massachusetts, Illinois, Nevada, Pennsylvania

and Washington as alleged in this claim for relief, the same arising as a result of

Defendants’ failure to pay the Plaintiff and the class members the wages Defendants were

legally required to pay them pursuant to such states’ laws or the FLSA.

       NOW THEREFORE, Plaintiff prays for relief for herself and all class members as

follows:

       1.      Judgment against all Defendants for unpaid minimum wages and overtime

wages and additional liquidated damages of 100% of any unpaid minimum wages and

overtime wages pursuant to the FLSA along with an award of costs and attorney’s fees;

       2.      Judgment against all Defendants for unpaid minimum wages and overtime

wages as required by the applicable state laws governing Defendants in the states where

defendant employed the Plaintiff and the class members;

       3.      Judgment against all Defendants for continuing wages and statutory

penalties and damages as required by the applicable state laws governing Defendants in the

states where Defendants employed the Plaintiff and the class members;


                                                23
       4.      Equitable, declaratory and injunctive relief including restitution and restraint

of Defendants’ actions in the future under applicable state laws;

       5.      Costs, litigation expenses and disbursements, interest and reasonable

attorney’s fees; and

       6.      Such further relief the court deems just and reasonable.

Dated this 7th day of April, 2014




                                              s/David H. Miller
                                              _____________________________
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                                                24
